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D.C.

IN THE UNITED STATES DISTRIC'I' COURT USAUG/
FOR THE WESTER_N DISTRICT OF TENNESSEE
EAS'I‘ERN DIVISION

 

UNITED STATES OF AMERICA
VS. Cr. NO. 1:02-10042-01~‘?

DAVID JOHN YOUNG

ORDER OF DISMISSAL

Upon motion Of the United States Attorney and for good cause
shown, it is,
ORDERED that the indictment in this case, as to the defendant,

David John Young, be and is hereby dismissed.

QQWM@‘W

JAM D. TODD
UN ED STATES DISTRICT JUDGE

DATE: }( dbaij Q'W§

I'I' IS SO ORDERED.

Thls document entered on the docket sheet ln mpllance
with Rule 55 and/or 32{b) FFICrP on _B_}U£_QS_

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 1:02-CR-10042 Was distributed by faX, mail, or direct printing on
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William D. Massey
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

Honorable J ames Todd
US DISTRICT COURT

